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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                         )
                                                  )
                            Plaintiff,            )
                                                  )
v.                                                )      Case No. 4:10CR3042
                                                  )
MARCUS ARNETT POLK,                               )
                                                  )
                            Defendant.            )

                                            ORDER

        THIS MATTER comes before the Court on defendant's Request to File A Restricted

Motion, filing 94. The Court, being fully advised in the premises, finds that said Motion should

be granted.

        IT IS THEREFORE ORDERED that, pursuant to NECrimR 49.1, the Clerk shall file

defendant’s Motion to Continue Sentencing restricted.

        IT IS FURTHER ORDERED that said Motion be made available to case participants

only.

        DATED this 1st day of June, 2011.

                                                  BY THE COURT:

                                                  Richard G. Kopf
                                                  United States District Judge
